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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                                 Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                    HON. AMIT P. MEHTA
 Google LLC,

                                 Defendant.


 State of Colorado, et al.,

                                 Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                    HON. AMIT P. MEHTA
 Google LLC,

                                 Defendant.




                                     JOINT DISCOVERY PLAN


         Pursuant to the Court’s Order, ECF No. 1043, the Parties submit the following joint

discovery plan, which identifies four areas of disagreement below, consistent with the Court’s

instruction.

I.       Joint Discovery Plan


      1. Except as modified below, the applicable limitations and procedures from the CMO, ECF

         No. 108-1, continue to control.

      2. Interrogatories. Each side is limited to 20 interrogatories, including subparts. No party

         shall serve any contention interrogatories.
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3. Requests for Admission. Each side is limited to 5 requests for admission.

4. Depositions.

       a. Limitations to the number of fact witnesses:

               i. [Plaintiffs’ Proposal: Each side is limited to 30 fact witnesses. Plaintiffs

                  are limited to 20 fact witnesses of current Google employees.]

                      1. Plaintiffs’ position: Due to the diverse set of potential remedies,

                          there may be a number of non-overlapping issues that necessitate

                          more depositions.

              ii. [Google’s Proposal: Each side is limited to 20 fact witnesses. Plaintiffs are

                  limited to 10 fact witnesses of current Google employees.]

                      1. Google’s position: The burden of preparation during the already-

                          expedited schedule falls disproportionately on Google, and there is

                          no need for 20 Google employee depositions given the extensive

                          testimony Plaintiffs have already obtained (between the

                          investigation, litigation, and trial).

       b. Limitations to the number of 30(b)(6) depositions:

               i. [Plaintiffs’ Proposal: Plaintiffs are limited to two 30(b)(6) depositions.]

                      1. Plaintiffs believe that two 30(b)(6) depositions will ultimately

                          avoid less efficient and burdensome discovery—we intend to issue

                          one 30(b)(6) notice early in the discovery period to winnow the

                          issues in which further discovery is warranted, and one 30(b)(6)

                          notice later in the discovery period to develop key facts in

                          anticipation of the evidentiary hearing.




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              ii. [Google’s Proposal: Plaintiffs are limited to one 30(b)(6) deposition.]

                     1. Google’s position: Especially in view of the other discovery

                         Plaintiffs contemplate, there is no legitimate need to further burden

                         Google through successive 30(b)(6) depositions.

       c. Depositions of party fact witnesses are limited to no more than a 7-hour day.

       d. During non-Party depositions noticed by only one side, the non-noticing side may

          cross-examine the witness for up to one hour at the conclusion of direct

          examination, and the side who conducted the direct examination shall be entitled

          to redirect examination of the witness for approximately the same amount of

          record time as the cross-examination regardless of whether the redirect

          examination extends past the 7-hour limit, but in no event shall the total on-record

          portion of the deposition extend past 8 hours. Even if the total, on-record portion

          of the deposition goes beyond 7 hours, the deposition shall conclude on the same

          day and shall not extend to a second day, unless the Parties all agree to have

          portion of the deposition take place on a second day. If a non-Party deposition is

          noticed by both sides, then the deposition will be 7 hours and will be divided

          equally between the sides, and the deposition of the non-Party will count as one

          deposition for each side. Any time allotted to one side not used by that side in a

          non-Party deposition may be used by the other side. During these remedy

          proceedings, no person shall object to a deposition on the basis that they were

          deposed during the liability proceeding in this matter.

5. Expert Depositions. Any expert may be deposed, after all expert reports and

   accompanying materials have been disclosed, for no more than 7 hours.




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6. Witness Lists.

       a. [Plaintiffs’ Proposal: On the dates previously ordered by the Court, each side shall

          provide (i) an Initial Witness List which shall be limited to 35 persons, not

          including experts; (ii) and a Final Witness List, which shall be limited to 15

          persons, not including experts. Parties may designate from depositions of persons

          not on the Final Witness List.]

               i. Plaintiffs’ position: Due to the diverse set of potential remedies, the

                    remedies evidentiary hearing may consist of briefer and more targeted

                    examinations, but of more persons, necessitating larger Initial and Final

                    Witness Lists.

       b. [Google’s Proposal: On the dates previously ordered by the Court, each side shall

          provide (i) an Initial Witness List which shall be limited to 20 persons, including

          experts; (ii) and a Final Witness List, which shall be limited to 12 persons,

          including experts.]

               i. Google’s position: Plaintiffs’ proposed witness numbers far exceed the

                    number of witnesses they could possibly call at trial given their

                    representations regarding trial length and the schedule the Court set, and

                    as such do not provide Google with actual notice as to which witnesses

                    they expect to call.

7. Document Requests. The Parties must serve any objections to requests for productions

   of documents within 14 days. Within 3 days of service of any objections, the Parties must

   meet and confer to attempt to resolve any objections and to agree on custodians to be

   searched.




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          a. [Plaintiffs’ Proposal: no proposed limitation]

                  i. Plaintiffs’ position: Plaintiffs believe that, consistent with the Federal

                     Rules, there should be no artificial limit on search strings and custodians,

                     as it will likely be necessary to develop distinct search strings and

                     custodians to fulfill RFPs related to the diverse set of potential different

                     remedies under consideration.

          b. [Google’s Proposal: The Parties may serve requests for production that

             contemplate identifying potentially responsive documents through the application

             of search strings to files collected from custodians, provided that no Party shall be

             obligated to apply more than 10 search strings or collect files from more than 15

             custodians in response to all such requests.]

                  i. Google’s position: Given the expedited discovery schedule and trial

                     length, placing reasonable limitations on the scope of searches and

                     custodial files is necessary to ensure that Plaintiffs focus their efforts,

                     rather than engaging in scorched-earth tactics that serve only to distract

                     Google from preparing its defenses.

   8. Service of Pleadings and Discovery on Other Parties. The Parties shall exchange a list

      of contacts for the persons to be served if service is not completed via ECF.




Dated: September 24, 2024                     Respectfully submitted,

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